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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


DOUGLAS A. AKINS,                            )
                                             )
       Plaintiff                             )       Case No. 18-395
                                             )
vs.                                          )
                                             )       RICHARD A. LANZILLO
CITY OF ERIE                                 )       UNITED STATES MAGISTRATE JUDGE
POLICE DEPARTMENT, et al.,                   )
                                             )
       Defendants                            )       JUDGMENT
                                             )
                                             )


                                          JUDGMENT

       AND NOW, this 7th day of December, 2020, IT IS HEREBY ORDERED that final

judgment is entered pursuant to Rule 58 of the Federal Rules of Civil Procedure in favor of

Defendants and against Plaintiff Douglas A. Akins, denying all relief sought by Plaintiff.



                                                        ________________________________
                                                        RICHARD A. LANZILLO
                                                        United States Magistrate Judge




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